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IN THE UNITED sTATEs DIsTRIcT coUR"i‘O 18 JU'L ~ PH 2' 1 9
FoR THE MIDDLE DISTRICT oF FLORIDA _` _V ° ~
;: f _ g 1 ~
jOI-IN DOE case No. W ; 155 4/\;_ lDUO\-ORL-Z'f'l/-l&é
c/o Engel & Martin, LLC `
4660 Duke Drive, Suite 101 _]udge:
Mason, Ohio 45040,
Plainu'fr, COMPLAINT
v. AND
ROLLINS COLLEGE jURY DEMAND
1000 Holt Ave
Wimer Park, FL 32789,
Defendant
INTRODUCTION

1. Plaintiff john Doe brings this action for breach of contract, violation of Title IX, and other related
claims.

2. This case arises out of the decision of Rollins College (“Rollins”) to impose disciplinary sanctions
against john Doe.

3. The allegations in this case are substantially similar in numerous respects to allegations brought by
another Rol]ins student in this Court in Mana°m` v. Ro//im Co//ege, M.D.F/a. No. 6:16-cv-2232-Or/-
37KR.S`.

PARTIES
4. Plaintiff john Doe is a fenner student at Rol]ins.
a. john Doe is a New York resident With a residence at [OMITTED].
b. john Doe has completed his degree at Rollins, however he faces sanctions from the school

including a notau`on of “dismissal” on his transcript

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c. john Doe paid a significant amount of money to Rollins in the expectation of receiving an
education and, if he successfully completes his classwork, a degree.

d. The disclosure of john Doe’ identity will cause the student irreparable harm as this case
involves matters of the utmost personal intimacy, including education records protected
from disclosure by the Family Educational Rights and Privacy Act (“FERPA”), 20 U.S.C.
§ 1232g; 34 CFR Part 99.

5. Defendant Rollins is a private university with a principal place of business at 1000 Holt Ave,
Winter Park, FL 32789.

]URISDICTION AND VENUE

6. This case arises, in part, under the laws of the United States, specifically Title IX of the Education
Amendments of 1972, 20 U.S.C. §§ 1681 el seq and Title VI of the Civil Rights Act of 1964, 42
U.S.C. §§ 200d el seq.. Accordingly, this Court has jurisdiction in this matter pursuant to 28 U.S.C.
§§ 1331 and 1343.

7. This case is between citizens of different states and the matter in controversy exceeds the sum or
value of $75,000, exclusive of interest and costs. Accordingly, this Court has jurisdiction in this
matter pursuant to 28 U.S.C. § 1332.

8. This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over all other claims in
this case, as the claims are so related to claims in the action within such original jurisdiction that
they form part of the same case or controversy under Article III of the United States Constitution.

9. This Court is an appropriate venue for this cause of action pursuant to 28 U.S.C. § 1391. The
defendant is a resident of the State in which this district is located and a substantial part of the

events or omissions giving rise to the claim occurred in this district.

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FACTS
ROLLINS’ SEXUAL MISCONDUCT POLICY
10. The relationship between john Doe and Rollins is governed by a number of policies and the
Student Handbook.
11. Rollins in 2015 adopted the “Title IX: Sexual Misconduct and Harassment Policy” (the “Sexual
Misconduct Policy”). A copy of the Sexual Misconduct Policy is attached as Exhibit A.
a. The Sexual Misconduct Policy prohibits sexual harassment, sexual assault, sexual
exploitation, stalking, and other related forms of sexual misconduct
i. Sexual assault is defined as follows:

Having or attempting to have sexual intercourse or sexual contact with another
individual without consent. This includes sexual intercourse or sexual contact
achieved by the use or threat of force or coercion, where an individual does
not consent to the sexual act, or where an individual is incapacitated

ii. Sexual assault is de&ned to include non-consensual sexual contact:

Having or attempting to have sexual contact with another individual without
consent. Sexual contact includes kissing, touching the intimate parts of
another, causing the other to touch one's intimate parts, or disrobing of
another without permission. Intimate parts may include the breasts, genitals,
buttocks, mouth or any other part of the body that is touched in a sexual
manner.

iii. Consent is defined as follows:

Consent to engage in sexual activity must be in formed, knowing and voluntary.
Consent exists when all parties exchange mutually understandable affirmative
words or behavior indicating their agreement to freely participate in mutual
sexual activity.

iv. The Sexual Misconduct Policy further clarifies the definition of consent:

Consent consists of an outward demonstration indicating that an individual
has freely chosen to engage in sexual activity. Relying on non-verbal
communication can lead to misunderstandings Consent may not be inferred
from silence, passivity, lack of resistance or lack of an active response alone.
A person who does not physically resist or verbally refuse sexual activity is not
necessarily giving consent.

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v. The Sexual Misconduct Policy provides that a person who is “physically
incapacitated cannot consent to sexual activity:
An individual who is physically incapacitated from alcohol or other drug
consumption (voluntarily or involuntanly), or is unconscious, unaware or
otherwise physically helpless is considered unable to give consent. For
example, one who is asleep or passed out cannot give consent.

vi. The Sexual Misconduct further clarifies the deEnition of incapacitation:
Incapacitation is the inability, temporarily or perrnanently, to give consent,
because the individual is mentally and/ or physical helpless due to drug or
alcohol consumption, either voluntarily or involuntarily, or the individual
is unconscious, asleep or otherwise unaware that the sexual activity is
occurring. In addition, an individual is incapacitated if he/ she
demonstrates that they are unaware of where they are, how they got there,
or why or how they became engaged in a sexual interaction. Where alcohol
is involved, incapacitation is a state beyond drunkenness or intoxication.

b. The Sexual Misconduct Policy provides that Rollins “will respond promptly and equitably
when any incident of sexual misconduct or harassment is alleged against a faculty, staff, or
student.”

c. The Sexual Misconduct Policy provides that Rollins will provide benefits and
accommodations to students who allege that they are the victims of sexual misconduct

i. These benefits and accommodations would not available to students but for the
fact that the students claimed to have been a victim of sexual misconduct, and are
provided without regard to any investigation

ii. lnterirn measures includes can include “no contact” orders and changes in
academic, employment or living arrangements

d. The Sexual Misconduct Policy prohibits retaliation against both the alleged victim and the
accused student. The policy provides:

Acts or attempts to retaliate or seek retribution against the reporting party, responding

party, or any individual or group of individuals involved in the investigation and/ or
resolution of an allegation of sexual misconduct Retaliation can be committed by any

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individual or group of individuals, not just a responding party or reporting party.
Retaliation may include condoned abuse or violence, other forms of harassment, and
slander and libel.

12. The Sexual Misconduct Policy states that “Typically” the investigative and disciplinary process
“will be completed within 60 days” and that this “timeframe may be extended only for good
cause.” If there is an extension, then “both the reporting party and the responding party will be
notified in writing of the extension and the reason for the extension.”

13. The Sexual Misconduct Policy states that a Title IX investigator will conduct the investigation

a. The Sexual Misconduct Policy provides:
During the investigation process, both the reporting party and the responding
party will have the opportunity to be heard and to respond, the opportunity to
have an advisor present during the investigation process, and the opportunity to
provide names of relevant witnesses
b. The Sexual Misconduct Policy provides that an accused student may have an advisor
“accompany them to the meetings”. The advisor may consult with the parties prior to or
during the course of the investigation meeting, but may not be a participant in the meeting.
c. The Sexual Misconduct Policy provides that the prior sexual history of the reporting party
“is typically not relevant” but that the prior sexual history of the responding party “may
be relevant where there is evidence of a pattern of misconduct.”

14. The Sexual Misconduct Policy does not provide for a hearing or other formal process. Instead,
“the investigator will determine responsibility based on the relevant information presented during
the investigation and the unique facts of the case.”

a. Responsibility is found based on the preponderance of the evidence, with no mention of

the burden of persuasion or that accused students are considered to be innocent until

proven guilty.

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b. As a result, accused students have no opportunity to confront their accusers or adverse
witnesses and, as a result, have no or limited opportunity to challenge the credibility of
their accusers or adverse witnesses.

15. A student found responsible for a violation of the Sexual Misconduct Policy could receive
sanctions including dismissal, suspension, probation, counseling, educational requirements, or a
written warning.

16. A student found responsible for a violation of the Sexual Misconduct Policy may submit an appeal
to a Vice President on some very limited grounds. The Title IX Coordinator will determine which
Vice President will hear the appeal.

17. The relationship between _]ohn Doe and Rollins is governed by the Student Conduct System
Handbook.

a. The Student Conduct System Handbook constitutes a contract between students and the
school and, in particular, bet\veen_]ohn Doe and Rollins.

b. A copy of the Student Conduct System Handbook is provided to or available to each
student.

18. Rollins has created a Reporting Party Bill of Rights. A copy of the Reporting Party Bill of Rights
is attached as Exhibit B. The Reporting Party Bill of Rights guarantees including the following‘.

a. Complainants have the right to be treated by Rollins “with respect, dignity, and sensitivity
throughout the investigation process.”

b. Complainants have the right to receive interim measures or accommodations, such as a
no-contact order or changes to academic, employment or living arrangements

c. Complainants have the right to “a prompt and thorough investigation” and to choose to

have Rollins not conduct an investigation

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d. Complainants have the right to an “outcome based solely on information gathered during
the investigation.” Further: “Such information shall be credible, relevant, based in fact,
and without prejudice.”

e. Complainants have the right “not have irrelevant prior sexual history considered as
information in the investigation.”

19. The Sexual Misconduct Policy is incorporated into the Rollins Student Handbook. The Rollins
Student Handbook provides that “[v]iolations of this policy . . . will follow the procedures outlined
in the [Sexual Misconduct] Policy, rather than the procedures outlined in” the Student Handbook.

this document.

 

Sexual Misconduct & Harassment

Rollins Co||ege is committed to creating and maintaining a safe, healthy. and
respectful community in which students, faculty, and staff can work together in
an atmosphere free of discrimination based on their sex. gender identity. gender
expression, and sexual orientation.

'|”lt|e lX of the Education Amendments of 1972 prohibits discrimination on the basis
of sex in any federally funded education program or activity. |n response. Rollins has
created The Office of Tit|e |X. The Title IX Coordinator leads Rollins' efforts to prevent
and respond to sex and gender based discrimination.

Any member of the Rollins community who is affected by sexual misconduct or
violence is encouraged to immediately notify the Tit|e lX Coordinator. Campus
Safety, or law enforcement, and to seek medical attention if necessary. All individuals
are encouraged to make a prompt report to the Co||ege so that the Co||ege can

take appropriate action to eliminate the harassment, prevent its reoccurrence, and
address its effects in the Rollins community. Confidentia| support and assistance is
also available on and off campus.

The full 'l”lt|e lX: Sexual Misconduct and Harassment Policy can be found at goo.g|/
EubPec. Vio|ations of this policy that fall under the definition of sexual misconduct
and harassment will follow the procedures outlined in the Tit|e |X Policy, rather than
the procedures outlined in this document.

 

 

 

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20. Rollins has created a Responding Party Bill of Rights. A copy of the Responding Party Bill of
Rights is attached as Exhibit C. The Responding Party Bill of Rights guarantees including the
following:

a. Accused students have the right to be treated by Rollins “with respect, dignity, and
sensitivity throughout the investigation process.”

b. Accused students have the right to receive interim measures and accommodations such as
a no~contact order or changes to academic, employment or living arrangements

c. Accused students have the right to “a prompt and thorough investigation” and to choose
to have Rollins not conduct an investigation

d. Accused students have the right to an “outcome based solely on information gathered
during the investigation.” Further: “Such information shall be credible, relevant, based in
fact, and without prejudice.”

e. Accused students have the right “not have irrelevant prior sexual history considered as
information in the investigation.”

21. Rollins adopted the Sexual Misconduct Policy in direct response to pressure from the the U.S.
Education Department's Offlce of Civil Rights (“OCR”).

a. On April 11, 2011, OCR sent a “Dear Colleague” to colleges and universities The Dear
Colleague Letter indicated that, in order to comply with Title IX, colleges and Universities
must have transparent, prompt procedures to investigate and resolve complaints of sexual
misconduct. After the Dear Colleague Letter \vas published, many schools changed their
sexual assault and sexual harassment policies and procedures in a manner that, while not
completely ignoring due process concerns, shifted the focus more on victim advocacy.

b. On Scptember 22, 2017, the Department of Educat:ion withdrew the Dear Colleague

Lettcr and indicated its intent to issue new guidance “through a rulemaking process that

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responds to public comment.” Letter from Oflice for Civil Rights, U.S. Dep't of Educ.
(September 22, 2017). (Available at
https:/ / www2.ed.gov/ about/ offices/ list/ ocr/ letters / colleague-title-ix-ZOI 709.pdf )

i. ln withdrawing the Dear Colleague Letter, OCR observed that prior actions “may
have been well-intentioned, but . . . led to the deprivation of rights for many
students-both accused students denied fair process and victims denied an
adequate resolution of their complaints.” Id. at 1-2.

ii. OCR further said: “Lega] commentators have criticized the 2011 Letter . . . for
placing “improper pressure upon universities to adopt procedures that do not
afford fundamental fairness.” As a result, many schools have established
procedures for resolving allegations that “lack the most basic elements of fairness
and due process, are overwhelmingly stacked against the accused, and are in no
way required by Title IX law or regulation.” Qz/oling Ope): Letter From Me))r[)er.r Of
T/)e Pemz I_Aw .i`rl)ool Fam/g': Sexual A.r.rau/t Complaiut.f: Pmlerling Co/)gD/ainanlr And
The Am'/.red Student.r Al Univmr'tie.r, Feb. 8, 201 5; Ret/)ink Harvard’.r Sexual Hara.m))enl
Po/ig', Boston Globe (Oct. 15, 2014) (statement of 28 members of the Harvard
La\v School faculty).

iii. The Rollins Title IX Coordinator told the Chronicle of Higher Education that
Rollins did not intend to make any revisions to its process following the repeal of
the 2011 Dear Colleague Letter.

"\X/e really can’t afford to change anything drastically right no\v," says Oriana
Jirnénez, Title IX coordinator at Rollins College, in Florida. Both students and
parents continue to have expectations about how institutions should handle

sexual-violence issues, she says, and students know more about their Title IX
rights than ever before.

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Sarah Brown, In the Time qum))lp, CoI/qge.r .S`larl to Mal(=.e Title IX Ol/r Own, ’Chronicle
of Higher Ed,]une 25, 2017.

22. In recent years, and during the period preceding the disciplinary actions against john Doe, there
was substantial criticism of Rollins, both in the student body and in the public media, accusing
Rollins of not taking seriously complaints of female students alleging sexual assault by male
students. This has included adverse news coverage and, campus meetings or protests, and
enforcement acu`ons concerning Rollins.

a. On information and belief, Rollins, like other schools nationwide, was scared of being
investigated or sanctioned by the Department of Education. Sanctions would include the
loss of eligibility for all federal funding. Upon information and belief, Rollins annually
receives millions of dollars in government grants and contracts, and students depend on
federal financial aid.

b. This criticism included criticism of the manner in which Rollins handled Title IX
investigations

c. In approximately 2013-14, students at Rollins staged a “Slut Walk." USA Today described
the protest as follows:

Holly Fussell, a rising senior at Rollins College in Florida, says that while women
primarily use the word “slut” to shame other women, she has also seen the word used
in a “very powerful way to sort of take the term away from people that are using it in
a negative way.”

“We had a ‘Slut \Valk’ this past year at Rollins and we used the term in a more
empowering way to say the way I dress does not imply consent, the way I look doesn’t
give consent, whether l was drinking doesn’t give consent,” she says. “The ‘Slut \Valk’
was to protest people saying that ‘she was dressed slutty’ or ‘she was asking for it’ or

‘she was drunk’ as an excuse in order to justify rape.”

]onathan Swartz, '.S`/ut .r/)a”/in<g' bar mon’ to do u)itl) soda/ita))di/{g than .\'ex, .vll/¢_Iy .\'¢y'.r, USA Today,

june 3, 2014

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d. In 2015, the Rollins Director of Public Safety published an article in the Orlando Sentinel
concerning, among other matters, the 2011 Dear Colleague Letter. Ken Miller, Are more
lam needed jbr public :a_/ég' on m//ege rar)¢u.re.r?, Orlando Sentinel April 13, 2015. Miller Wrote
that “the campus personnel who are now charged with responding to sexual and gender
violence have somehow become the enemy.”

i. Miller suggested, “A change in the current environment is needed so that we can
provide the care and diligence that communities and survivors deserve

ii. Miller wrote, “After more than 20 years in the profession, I do believe something
should be done to prevent campus rape; however, layering more requirements _
both at the state and federal level _ is not the answer.” Instead, Miller asks, “Isn't
it our responsibility to provide options, medical/ psychological care and on-
campus judicial proceedings before reporting to law enforcement?

e. In September 2017 a column in T/)e .S`a)zdgbur, the student newspaper, suggested that “654
Women and 197 men from this year’s student body” were likely to be victims of sexual
assault, and that “less than 10% of reported cases of sexual assault are false.” Kei.la
Makowski, Pmlerling l/)e Pe)pelralon Title IX’.\' New Grride/irle.r, The Sandspur, September 28,
2017.

i. The article critics the changes made to the Department of Education’s Title IX
Guidance by the Secretary of Education.
ii. The author writes,
In [Seeretary DeVos’] eyes, it is more a danger to be accused of sexual assault .
falsely that it is to be assaulted or to feel violated by having your assailant going
to school with you. She does not understand that sexual assault is already the
most underreported crime, with only 12 percent of campus sexual assaults

being reported. 12 percent is such a low number, one that will only decrease if
the government continues to take the side of perpetrators over victims.

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23. In Ma)zci))i, .rrqbra, a plaintiff accused of sexual misconduct alleged that Rollins had a bias against
males that caused an erroneous imposition of discipline
a. Plaintiff alleged bias in a number of ways:
i. Rollins faced pressure to find males accused of sexual assault guilty in order to
preserve federal funding that had been conditioned on compliance with the 2011
Dear Colleague Letter;
ii. Rollins failed to provide the plaintiff with adequate and timely notice of the
accusations against him;
iii. Rollins failed to adequately train the investigator;
iv. Rollins did not obtain a witness list from Plaintiff or a list of questions to ask the
Accuser and other witnesses, disregarded witnesses supportive of Plaintiffs
defense, and failed to have the witnesses review and correct the investigator's
“distorted” characterizations of their testimony;
v. Rollins failed to acknowledge alleged misconduct by the complainant and omitted
favorable information from the investigative report;
vi. Rollins discouraged plaintiff from pursuing allegations of misconduct by the
complainant; and
vii. Rollins used a biased investigative and adjudicatory process.
b. This Court credited the allegations of differential treatment of the Plaintiff in Mam'ini to
support an inference of gender bias.
24. The Mana'm' litigation has resulted in additional criticism and news coverage of the Rollins Title

IX process.

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a. Rollins was featured in an article on Reason.com. Samantha Harn`s Acm.red.$`tudent .S`qy.r He
Wa.\' To/d to '.S`t¢y Quiet'Abo:rt Hir O)zm Lack ofC`ome)zt, Reason, july 29, 2017. 'I'he author
writes:

Although there have been a number of court rulings favorable to accused students in
these cases-and many more favorable settlements_the space of lawsuits has not
done much to move the needle back towards a fairer process for students accused of
sexual misconduct and other serious wrongdoing.

b. A Rollins spokesperson was quoted in the Orlando Sentinel stating, the school was
confident "all parties in this case were treated fairly and appropriately." Gabrielle Russon,
Rollins student sues :c/)oo/ after .tl/.¢erm'on in rex assault case, Orland Sentinel, Dec. 29, 2016.

THE DISCIPLINARY PROCEEDINGS AGAINST ]OHN DOE

25. john Doe was accused of sexual misconduct arising out of events that occurred during the early
morning of February 18, 2017 (the “Incident).

26. john Doe unequivocally denies engaging in any misconduct or violation of the Sexual Misconduct
Policy.

27. The alleged victim will be referred to as “jane Roe.” The disclosure of jane Roe’s identity will
cause the student irreparable harm as this case involves matters of the utmost personal intimacy,
including education records protected from disclosure by FERPA.

a. jane Roe was a senior at Rollins.

b. jane Roe and john Doe became friends during their junior years. They spoke on daily
basis from December 2016 through the date of the Incident. They also communicated
regularly on social media sites such as Facebook.

28. On February 17, 2017 john Doe invited jane Roe to a Valentine’s Day themed party at his
Fraternity.

a. At the party,john Doe spent some time with another woman, later identilied as Witness

21. jane Roe was jealous of john Doe spending time with \Vitncss 21.
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b. john Doe had some drinks prior to the party. At the party,john Doe andjane Roe shared
part of a bottle of champagne. john Doe does not believe thatjane Roe was incapacitated
during the evening, describing her intoxication as between 4 and 6 on a 1-10 scale during
the evening.

c. john Doe and jane Roe left the party and went to a local bar. jane Roe did not d1ink at
the bar and after hanging out for a while, they decided to go home. john Doe did not
touch jane Roe’s knee or leg at the bar, and does not recall the two engaging in any
“flirtatious” behavior.

d. On the way back to john Doe’s room,john Doe and jane Roe held hands in a romantic
manner. Once they got to the room, they started to watch a movie. john Doe and jane
Roe kissed. jane Roe actively participated in the kissing. john Doe touched jane Roe on
her breasts, thighs and vagina while they kissed. jane Roe indicated her consent continuing
to enthusiastically make out withjohn Doe. jane Roe never toldjohn Doe to stop or said
“no.”

e. jane Roe unbuckled john Doe’s pants and touched his penis. john Doe asked jane Roe
is everything was “OK,” as he did not want to complicate their friendship. She responded
that everything was “fine.” john Doe then penetrated jane Roe’s vagina with his fingers
while they made out.

f. jane Roe told john Doe, “I think we should stop.” john Doe ceased all sexual activity
and they Enished watching the movie. After the movie,john Doe walked jane Roe out
of his room and she walked home.

29. jane Roe sent a series of text messages the following morning before when the impressions of the
evening were freshest in her mind. These text messages support the conclusion that jane Roe

consented to all sexual activity tojohn Doe.

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a. jane Roe texted john Doe the following morning. During this exchange, jane Roe did
not claim that she was sexually assaulted, but instead simply said that “she did things I
didn’t actually feel comfortable doing at all” and that she did not “properly communicate.”

The exchange is:

_mm_

Hey just wanted to clear things up
about last night just so ‘.~/e‘re clear
and because l don't want to bo
leading you on or anything like thatv
Last night l ~'.'as drunk and l did
things l didn't actually feel
comfortable doing at al|, and it
mostly occurred because l was
dr\_ir\l»:_ l'm sure you kno‘ |WaS
uncomlortablo because you did keep
asking whal's among which was my
opportunity to say something but l
Was too drunk to really formulate a
response. l\.'r.'asn't able lo properly
comn'iunicatr.= all this because |was
drunk nntl you were drunk and \/Cali.

9:33 AM

 

Hoy l approclate the explanation and

 

all but don’t sweat lt. We were both
lust drunk and one thing led to 9:56 m
another. l'm really sorry you feel
uncomfortable about lt and hopefully
wo can inst look past it.
9:59 AM
Dollvered

 

 

 

i. jane Roe later explained to the investigator that she sent the message to help craft
her narrativc.

ii. \Vhen asked about her text message to john Doe after the Incident, she explained
that she does not use “a lot of absolute statements” in her text messages jane Roe

also said that “at Rollins, you can’t just come out and say to someone that they

raped you without the entire campus knowing.”

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b. _]ane Roe texted a friend, described infra as Wl, the following morning. During this
exchange,_]ane Roe indicated that she regretted engaging in sexual activity with john

Doe. The full exchange (names redacted) is:

 

Saturday 10102 AM
Whatll! 10102 m
Aro you ok? 10:02 AM
10;02 m
\o:oz A»{
What happened 10:02 m

       

Tr;iurn:itizetl but oZ-; 10:02 AM

-,. , i |hho 9 9 z

lilon.Ct.u;)..lt|l-1003AM
What hoppenedlll 10;03 m
Oh nooo 10:03 AM

    

[ltll | ‘.','(i'_', 1',0 llit.'rlf-'. :inti rlitlrl‘t '.‘.'l`iill I-D 10:03 AM

 

Sex 10:03 AM

 

 

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Dld ho kind of force you 10104 m

And you were just too dnmk to resist 10:04 m

    

  

And |il»ze l was telling him l didn'l want

to but yea he kinda was mms-ku

  

Lil'.e l reciprocated lyea touched his
penis YIKES) but lil»:e it was sorta cuz

|\.'ras drunk and rlidn't know what l

10205 AM
l'r:ls doing l

 

Not cool 10:05 m

mid then l immediately regretted it `°:05 AM

and =.'.-'anted to leave

 

OH NOO 10:05 m

not the perils io:os m

       

  
 

so tried and col.ildn't
‘.lF_-r't_mll.'-'(:r'l tl\.'ll | .'r.'!rlleri to go

gill l `.'1'\'!" 10:05 AM

 
 
 

 

 

 

 

  
     
   
    
  

  

  
     

Or lust make out 10:03 Ai
end like l was too drunk to say no but `°__°3 M
lt happened any‘.'rays
Mal<e out and like he touched me and 1033 M
stull :l

Awwww=l!! 10;03 Aci

You scared me though l thought you 1 °_°4 l

sexed fora second

l am 0.'~. Fa;l;~Time \.'.'itl - bill lil~:el
'.‘.'ol-ie up crying and havan a panic 10:04 Ah
allaCk
Lil:e l just felt SO uncomfortable 10104 Ah
/\nd 1'd never experienced that 10:04 All
Lil<e l'\/e never hooked up with
someone l didn't want to hook up 10104 A\
with
That's actually horrible lll Omg 10:04 All

 

 

 

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30. On February 22, 2017,jane Roe met with Oriana jimenez, the Rollins Title IX Coordinator.

a. After discussing the matter with jimenez, jane Roe indicated that she did not wish to
participate in a Title IX investigation

b. jane Roe received unspecified “academic accommodation” in February 2017 as a result of
her claim to have been a victim of sexual assault.

i. On information and belief,jane Roe was permitted to take a class as a “credit/ no
credit” so that she would not receive a poor grade. jane Roe indicated that if she
received the poor grade (“another C”) she would have lost her scholarship.

ii. john Doc was not informed of this academic accommodation during the
investigative process, Nonetheless, at one point the investigator asked john Doe
“what motivation []ane Roe] would have to fabricate what happened and be
dishonest.” john Doe could only respond, “I couldn’t tell you, it’s all a big surprise
to me.”

31. In early November, 2017, an individual “with a name similar to”john Doe was accused of sexually
assaulting three women by an anonymous caller to the Title IX Oflice. No further information
about this allegation is available, and, on information and belief, the allegations were unfounded

32. On November 14, 2017, as a result of the anonymous “tip,” jimenez reached out to jane Roe to
see if she had any additional information about this alleged incident. jane Roe indicated that she
did not know about this incident. jane Roe, however, said that “there was another female who
had been potentially sexually assaulted by”john Doe. jane Roe further toldjirnenez that she “had
since heard from other friends about the possibility of a third female, who had since graduated,
who was also potentially sexually assaulted by”john Doe.

33. On November 14, 2017, after meeting with jimenez,jane Roe decided to “participate” in a Title

IX investigation jane Roe submitted a written statement to jimenez at that time. jane Roe

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explained that she decided to participate because she “had nothing to lose” and that several of her
friendships have changed as a result of her allegations She also said that after hearing of the
anonymous November 2017 call, she “did not want []ohn Doe’s] behavior to continue.”

34. On November 20, 2017, john Doe was provided with notice of his alleged misconduct This
provided:

[jane Roe] alleges that in the early morning hours of Saturday, February 18, 2017 that you

kissed her, sexually touched the intimate body parts, caused her to touch your intimate body

parts, disrobed her, and, ultimately, sexually penetrated her digitally without her consent while

in the residential hall dormitory in Gale Hall. These behaviors may constitute a violation of .

. . [the Sexual Misconduct Policy . . . [sic]

35. Rollins retained an outside investigator D.B. Wallace of, D.B. Wallace Investigations, to conduct
the investigation On information and belief, Wallace is an attorney who graduated in 2007 from
Stetson University College of Law.

36. On November 20, 2017, the investigator interviewed jane Roe.

a. jane Roe told the investigator that in February 2017, she believed john Doe developed a
“crush” on her. She explained that john Doe would “FaceTime her a lot and they would
talk for over an hour.”

b. On February 17, 2017, jane Roe agreed to accompany john Doe to a fraternity party as
his date.

c. jane Roe stated that she had a glass and a half of wine before meeting john Doe at his
room. She stated that john Doe was “visibly drunk.” At the party, jane Roe and john
Doe were “zip-tied together.” At some point in the evening, another woman was “zip-
tied” to john Doe; jane Roe reported that she believed john Doe had a “crush” on this
other woman.

d. jane Roe stated that she and john Doe shared a bottle of champagne, she had some other

drinks, and that she felt “drunk.” She left the party with john Doe and they went to a

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local bar. jane Roe reported thatjohn Doe was “rubbing her knee and holding her hand”
at the bar.

e. jane Roe reported that she left the bar with john Doe and the two went to john Doe’s
room. She states that she was intoxicated She claims she needed to holdjohn Doe’s hand
because she was “fa]ling over” and that “everything was blurry.”

f. jane Roe stated thatjohn Doe encouraged her to remain in the room and watch a movie.
She said that john Doe was “not as intoxicated as she was.” jane Roe alleges that she fell
asleep while watching the movie and that john Doe started to kiss her.

i. She stated that she “was in a way kissing him back because her lips were moving”
but that she was “in and out of sleep.” She said that she told john Doe, “no, no,
I don’t want to.” She claims that, at that point,john Doe said, “we don’t have to
have sex” and began to touch her breasts and inner thigh and her vagina.
ii. jane Roe claims that she toldjohn Doe, “I don’t want to be here, I want to go to
my room.” john Doe allegedly responded, again, “we don’t have to have sex.”
jane Roe claims that john Doe removed his pants exposing his penis and “in a
very smooth way” stroked her hand and moved her hand to his penis. jane Roe
claims that she touched john Doe’s penis and that john Doc then inserted his
lingers in her vagina.
iii. jane Roe claims that she toldjohn Doe to “stop.” He did, but she claims he kept
rubbing her and “trying to hook up.” She eventually left john Doe’s room.
37. Wallace conducted a series of follow-up interviews with jane Roe, including a meeting on
November 28, 2017, a phone call on November 29, 2017, a meeting on December 7, 2017, and a

phone call on December 12, 2017. During the December 12, 2017 interview jane Roe provided

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additional details about the Incident in response to a claim that john Doe “believes his actions

were reciprocal to hers.”
38. Wallace interviewed john Doe on December 7, 2017.

a. john Doe also submitted two written statements.

b. The interview lasted over three hours.

c. Wallace attempted to “ambush” john Doe by asking him about other, unrelated,
allegations of sexual misconduct john Doe was not told about these allegations prior to
his interview. \Vallace and jimenez toldjohn Doe that if he chose not to answer questions
about these allegations, “his position would not be able to be taken into consideration
regarding potentially critical evidence.”

39. Wallace interviewed Witness 1 (“Wl”) on November 28, 2017.

a. Wl did not have any firsthand knowledge of the Incident.

b. Wl is one of jane Roe’s best friends and a sorority sister.

c. \Vl attended the party with john Doe and jane Roe. \Vl described jane Roe as
“sufficiently drunk or tipsy but not too drunk.”

d. \Vl spoke with jane Roe the day after the incident Wl saidjane Roe reported that john
Doe had “lingcrcd” her even though she said “no.”
e. jane Roe Texted W1 1 at 3:29 am.
40. Wallace interviewed \Vitness 2 (“WZ”) on November 20, 2017.
a. WZ did not have any first hand knowledge of the Incident.
b. \V2 is one of jane Roe’s former roommates and sorority sister.

c. \VZ sawjane Roe at the party; `\VZ reported thatjane Roe did not appear to be intoxicated

d. _]ane Roe Texted WZ at 3:31 am.

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e. `\VZ provided information that cast doubt on jane Roe’s credibility. W2 described jane
Roe as “attention seekin ” and that jane Roe “threw around the term ‘rape,”’ which WZ
believed was “miscommunicating what actually happened.” WZ said jane Roe initially
thought about the situation as “both of them being drunk” but later described john Doe
as a “predator.”

41. Wallace interviewed Witness 3 (“W'3”) on November 21, 2017.

a. W?) did not have any first hand knowledge of the Incident.

b. WS is jane Roe’s “1ittle sister” at her sorority.

c. W'S was not at the party. W?) spoke with jane Roe after the Incident. The investigative

report includes conclusory statements from W?) such as:jane Roe “would never make this

”

up.
d. W?) accompanied jane Roe to her initial meeting with jimenez.
42. Wallace interviewed Witness 4 (“W4”) on November 28, 2017.
a. W4 did not have any first hand knowledge of the Incident. In fact, W4 was in Argentina
at the time of the Incident!
b. W4 is one of jane Roe’s friend and sorority sisters.
c. \V4 communicated with john Doe over FaceTirne shortly after the incident. \V4 reported
thatjohn Doe did not know that jane Roe was upset. john Doe told \\74 that jane Roe
“threw her hands down his pants.”
d \V4 reported thatjane Roe “freaked out” when W4 did not take “her side.” \V4 described
jane Roe as “attention seeking.”
43. Wa]lace interviewed \Vitness 5 (“\VS”) on November 20, 2017.
a. \VS did not have any first hand knowledge of the Incident. \VS only learned about the

Incident a few nights after it occurred

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b. \Y/S is jane Roe’s sister. She is also one of jane Roe’s sorority sisters.
44. Wallace interviewed Witness 6 (“Wé”) on November 20, 2017.

a. \VG did not have any first hand knowledge of the Incident. \V6 said that he was aware of
an incident between john Doe and jane Roe, but that he is not sure what happened and
did not know any details.

b. W6 is one of john Doe’s friends and fraternity brothers.

c. \Vallace re-interviewcd \VG on November 28, 2017. Most of the interview was not relevant
to the Incident. Instead, Wallace focused on an event in November 2017 and whether
john Doe was upset that another woman was at the event.

45. Wallace interviewed \Y/itness 7 (“\ ”) on November 21, 2017.

a. W? did not have any first hand knowledge of the Incident.

b. W? is one of jane Roe’s friends and sorority sisters.

c. \Y/7 indicated to the investigator thatjane Roe reported the Incident to her a few days after
the Incident. W7 gave inconsistent impressions of jane Roe. At one point W7 said jane
Roe was “visibly emotional” and crying, yet she later said jane Roe was “shutting down
emotions” and “able to calnin retell what had happened.”

d. W7 has received “Title IX training” and always tries to encourage reporting “in an effort
to give survivors as much power as possible.” Nonetheless, Wallace editorialized, “she is
still able to give an unbiased perspective because of her training . . .”

46. Wallace interviewed Witness 8 (“\VS”) on November 20, 2017.

a. WB did not have any first hand knowledge of the Incident.

b. WS is one of jane Roe’s friends and sorority sisters.

c. W8 indicated that she does not know any details of what happened between john Doe

and jane Roe.

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d. Almost the entirety of Wallace’s interview of WS concerned WS being upset about how
john Doe had spoken about W8 in the past. Despite the fact that john Doe was never
accused of any sexual misconduct around \VS, the investigative report noted that \VS “feels
like she is having a panic attack” is she sees john Doe on campus.

e. Wallace conducted a follow-up interview with WS on November 29, 2018.

47. Wallace interviewed Witness 9 (“\X/9”) on November 20, 2017.

a. W9 did not have any first hand knowledge of the Incident.

b. W9 is one of jane Roe’s friends and sorority sisters.

c. W9 was at the party with john Doeand jane Roe, but did not have specific memories of
the event.

48. Wallace interviewed Witness 10 (“W'10”) on November 29, 2017.

a. W10 did not have any first hand knowledge of the Incident.

b. WlO had graduated from Rollins and is one ofjane Roe’s sorority sisters.

c. Almost the entirety of the interview of W10 involved an allegation by W10 thatjohn Doe
had committed sexual misconduct in the Fall of 2016.

i. W10 alleged that she attended a party with john Doe. She was drinking during the
event and recalls waking up naked in john Doe’s bed the next morning. She
assumed she had sex with john Doe.

ii. \VlO told \Vallace that she had no other memories of that evening. She said that
she “never explicitly told anyone that she felt ‘assaulted.”’ \Vallace included the
editorial comment that WlO “said she’s not sure he will stop if something doesn’t
happen to him.”

49. Wallace interviewed \`i/itness 11 (“\Vll”) on December 7, 2017.

a. \Y/11 did not have any first hand knowledge of the Incident.

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b. Wll is friends with bothjane Roe’s andjohn Doe, and alsojohn Doe’s fraternity brother.

c. W11 was at the party withjohn Doe and jane Roe, but did not observe them.

d. Almost the entirety of Wallace’s interview of W11 concerned the irrelevant allegations
made by WS and W10.

50. Wallace interviewed Witness 12 (“\VlZ”) on November 28, 2017.

a. WIZ did not have any first hand knowledge of the Incident.

b. WIZ is one of jane Roe’s “best” friends and sorority sisters.

c. W12 spoke with jane Roe about two weeks after the Incident. \V12 was approached
because W12 was a prior victim of sexual misconduct The investigative report includes
the conclusory statement from W 12 thatjane Roe was “initially very hurt, sad and angry,
and now she seems like she’s accepted it . . .”

d. Almost the entirety of the remainder of Wallace’s interview of W12 concerned the
irrelevant allegations made by W8 and WlO.

51. Wallace interviewed Witness 13 (“Wl?)”) on November 29, 2017.

a. W13 did not have any first hand knowledge of the Incident.

b. \Vl?) does not seem to even know john Doe or jane Roe. Almost the entirety of the
remainder of \Vallace’s interview of \V12 concerned the irrelevant allegations made by W8.

52. Wallace interviewed \Vitness 14 (“\V14”) on December 3, 2017.

a. \V14 did not have any first hand knowledge of the Incident.

b. \V14 “didn’t know who [janc Roc] was by name, but recognized her once shown a picture

c. W14 sawjohn Doe and jane Roe at the bar following the party. She said that jane Roe
was a “little more drunk than [\V14], but was able to dance.” She never saw jane Roe

“falling over herself sitting down, unresponsive, or asleep.”

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53. Wallace interviewed Witness 15 (“Wl 5”) on November 28, 2017.

a. W15 did not have any first hand knowledge of the Incident.

b. W15 is friends with john Doe, his fraternity brother, and his roommate.

c. W15 sawjohn Doe andjane Roe return to john Doe’s room. john Doe had said that the
night went well and that jane Roe wanted to watch a movie. He observed jane Roe and
did not believe that she was drunk.

d \Vallace questioned W15 about john Doe’s social history, including whether john Doe
ever “had a romantic girlfriend” while at Rollins. A large portion of Wallace’s interview
of W15 concerned the irrelevant allegations made by WS.

54. Wa]lace interviewed \X/'itness 16 (“W16”) on November 28, 2017.

a. W16 did not have any first hand knowledge of the Incident. In fact, the investigative
reports acknowledges that W16 “has no relevant information to offer.”

b. \V16 is a fenner friend of jane Roe and her sorority ‘big sister.’ \V16 is described as a
Rollins graduate whose name was mentioned in a text message between john Doe and
WB.

c. W16 said that jane Roe has a tendency to exaggerate. \\’/hen Wallace received this
information, she asked whetherjane Roe is “known to exaggerate about being assaulted .

55. Wallace interviewed Witness 17 (“\\'/17”) on November 30, 2017.

a. W17 did not have any firsthand knowledge of the Incident.

b. W17 is friends with \‘(/10. W17 is a sorority sister of jane Roe, but according to the
investigative report does not appear to have any knowledge of jane Roe. W17 seems to

only knowjohn Doe slightly.

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c. The Investigative Report does not indicate that \V17 was asked any questions about the

Incident; instead Wallace questions W17 about WlO’s allegations againstjohn Doe.
56. Wallace interviewed Witness 18 (“\X/18”) on November 29, 2017.

a. \VlS did not have any first hand knowledge of the Incident.

b. WIS is a sorority sister ofjane Roe

c. WlS was questioned because another witness had mentioned that she had a video ofjohn
Doe “lingering” a fortner Rollins student (later identified as W19). W18 did not, in fact,
possess such a video The Investigative report describes a videos taken by \V18 as follows:

In these video clips, [john Doe] is behind W19 and is seen kissing \V19’s neck, while
\‘(/’19 has her head back. W19’s moving in a slight back and forth motion with her eyes
closed. [sic.] W19’s mouth moves at times.

d. Notably, W18 “can’t say” that W19 did not consent to sexual activity of john Doe in the
video.

57. Wallace interviewed Witness 19 (“\Y/19”) on December 5-6, 2017.

a. \V19 did not have any first hand knowledge of the Incident.

b. \V19 is friends withjohn Doe.

e. \V19 recalled kissing john Doe once or twice, but did not recall the incident in the video
played by \`{/18. She said that it was an “experimental” time for her in College and that it
was “not uncommon” for her to get drunk and kiss various men. She indicated that she
would have consented to kissing john Doe. Wallace attempted to get W19 to say that
john Doe touched her vagina her without her consent, but \Y/19 indicated that she could
not remember or determine from the videos if john Doe “fingered” her. She further said
that she was not upset by the video.

58. \‘(/'allace interviewed Witness 20 (“\\720”) on December 7, 2017.

a. \‘VZO did not have any first hand knowledge of the Incident.

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b. W20 is a member of the same fraternity as john Doe.

c. WZO was asked about a party attended by john Doe and WS. This party had nothing to
do with the Incident. W20 said that john Doe and W8 did not get along, and that john
Doe was upset when he learned that WS was coming to the party.

d. The description of \V20’s interview is typical of the rumor, hearsay, and innuendo that
pervades the investigative report instead of facts about the Incident:

An unknown third party told W20 that |john Doe] and \VB had “previous relations”
their freshman and sophomore year. The only detail WZO could remember regarding
what this third party told him was that [john Doe] was really into WS either their
freshman or sophomore yearin college. W8 did not reciprocate his feelings “or maybe
she got with another guy and that may have frustrated him.”

59. Wallace interviewed Witness 21 (“W21”) on December 7, 2017.

a. W21 did not have any first hand knowledge of the Incident.

b. W21 is friends withjohn Doe and also a sorority sister of jane Roe.

c. W21 was invited by john Doe to the party attended by john Doe and jane Roe. W21
spent some time with john Doe and jane Roe, and believes that jane Roe was mad that
\V21 was spending time with john Doe. W21 was unable to say if jane Roe was
intoxicated

60. Wallace interviewed Witness 22 (“\‘(/'22”) on December 7, 2017.

a. \V22 did not have any first hand knowledge of the Incident.

b. W22 is friends with john Doe and his fraternity brother.

c. \VZZ was at the party with john Doe and jane Roe. He was not drinking because he
recently had surgery. He recalled seeingjohn Doe walking around, but did not recall any
observations of jane Roe.

61. On December 15, 2017,john Doe’s advisor requested the opportunity forjohn Doe to review all

documents and statements obtained during the investigation in order to prepare a response.

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Approximately 2 weeks later,jimenez responded jimenez toldjohn Doe that he had received all
information he is entitled to see.
62. On january 23, 2018,john Doe inquired about the status of the investigation. He was told that
the matter was delayed because, according to the school, Wallace had a serious medical condition.
63. At a number of times during the investigation, Wallace and jimenez received information and
allegations that bothjohn Doe was the victim of violations of the Title lX Policy.

a. A number of witnesses, and the text messages obtained, suggested that both john Doe
andjane Roe were intoxicated when they engaged in sexual activity. Rollins did not initiate
an investigation into whetherjohn Doe was too intoxicated to knowingly consent to sexual
activity with jane Roe.

b. john Doe reported to jimenez that he was being harassed by some of the witnesses, and
in particular, WB. Rollins did not initiate an investigation into this retaliation.

i. On December 12, 2017,john Doe sent an email to jimenez suggesting that he had
been approached by two people who were aware of details of the investigation
from jane Roe. He claimed that this was “a form of bullying” and a possible
violation of his FERPA rights.

1. jimenez responded that she needed the names of the individuals involved
and details of the statements. john Doe responded by providing additional
details.

2. On December 13, 2017,jimenez announced that she had “concluded her
investigation on these matters.” The so-called investigation seemed to
consist solely of allowing the alleged wrong-doers to deny any violations
of the ami-retaliation provisions of the Sexual Misconduct Policy. No

action was taken other than the issuance of a new “new contact" order.

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ii. On or about May 13, 2018 - after the investigation -john Doe was assaulted by
WS’s boyfriend The friend was upset about the allegations by W8 and jane Roe
againstjohn Doe. WS, W10 and W12 were present during the assault. A police
report was filed
64. The investigative report included a number of uncorroborated allegations of misconduct that were
irrelevant to the charges being investigated and, as a result, should not have been considered
pursuant to the Sexual Misconduct Policy. These included:

a. The investigative report included a statement by Wl. Witness 1 described attending a
party of john Doe’s date in 2015. She said that at the party,john Doe “repeatedly tried
to hold her hand and kiss her.”

b. The investigative report included a statement by WS about a prior incident between \\'/8
and john Doe. Before November 2017, W8 went on a date with john Doe; john Doe
wanted things to be more serious, but WS thought they were on the date as friends. WS
alleged that john Doe got upset when she later started dating someone else, and later
referred to her as a “slut.”

65. The investigative report contained a number of editorial comments while describing john Does’
statements. Similar statements are not present during the descriptions of jane Roe’s statements.

a. Many of the editorial comments describe common behavior for a young person being
forced to discuss intimate sexual matters and allegations of possibly criminal behavior.
For example, Wallacc writes the following about john Doe’s description of jane Roe
touching his penis: “[john Doe] appeared very hesitant and nervous during this part of
the conversation. l'lc took long pauses before answering and would look at his advisor

prior to answering.”

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b. Some of the editorial comments seem to criticizejohn Doe for exercising his right to have
an attorney present during the interviews, even though this is a right guaranteed by the
Clery Act.

i. For example, at one point, Wallace writes about john Doe responding to a text
message from jane Roe: john Doe “appeared nervous [and] looked at his advisor
. . .” At another place, Wallace noted “[]ohn Doe’s] advisor asked for a chance to
talk to []ohn Doe] . . . prior to answering any questions about” certain topics. At
yet another place Wallace specifically mentions thatjohn Doe “conferred with his
advisor

66. The Investigative Report also includes minors and innuendo suggesting that john Doe had
committed other sexual assaults.

a. The investigative report indicates that in early November, 2017, an individual “with a name
similar to” john Doe was accused of sexually assaulting three women by an anonymous
caller to the Title IX OfEce. No further information about this allegation was included
The investigator asked jane Roe if jane Roe had any information about this alleged
incident. jane Roe indicated that she did not know about this incident.

b. The investigative report indicates that jane Roe had said that “there was another female
who had been potentially sexually assaulted by”john Doe. This appears to be \VIO.

i. The investigative report includes a further statement by jane Roe that she “had
since heard from other friends about the possibility of a third female, who had
since graduated, who was also potentially sexually assaulted by” john Doe.

ii. The investigator questions other witnesses about this alleged incident, even though
these witnesses had no direct knowledge of the alleged misconduct Typical of the

approach of \Vallace is her questioning of \V4 about this incident. \\'/allace writes,

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“\V4 never spoke to []ohn Doe] about [this allegation] and she’s only heard what
allegedly occurred between them through other sorority sisters.”

c. The investigative report includes a description by jane Roe of john Doe claiming that he
had “hooked up” with one of the witnesses. This appears to be WS. The investigative
report includes numerous details about this incident but then, remarkably, concludes \VS’s
“tesu'mony will not be factored into the determination of responsibility.” On information
and belief, this statement is a bad faith effort by Wallace to include “dirt” on john Doe in
the investigative report, yet insulate herself from charges of improperly including irrelevant
and unreliable material.

d. The investigative report includes the following irrelevant, inflammatory and conclusory
statement from jane Roe: “[jane Roe] explained she doesn’t believe []ohn Doe]
understands consent, as his college experience of hooking up with people is only when
girls are in an intoxicated states.”

e. Wallace provided the following description of her questions about john Doe’s character
and other alleged incidents:

[]ohn Doe] was told he’d be questioned on additional witness statements regarding
similar allegations It was reiterated to []ohn Doe] that he was only being investigated
for the incident involving []ane Roe,] but that these other witnesses could be used as
evidence in the instant matter. []ohn Doe] wanted to know if these were just things
[Wallace] had heard from other people and said, “they haven’t made reports?” It was
explained that at this time there is only one reporter, but that these witnesses spoke to
[Wallace,] personally.

67. The investigative report also includes rumor and innuendo aboutjohn Doe’s character and prior

sexual history.
a. The investigative report includes statements fromjane Roe aboutjohn Doe’s “disposition

when he is drinking.” jane Roe stated that john Doe gets “aggressive” and that he “gets

mad and defensive easily.” For example, the investigative report includes a statement from

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W8 that when john Doe is drinking, “he can become pushy by trying to initiate making
out.”
b. The investigative report includes statements aboutjohn Doe that he has “not had a real
girlfriend while at Rollins” and that he “admitted to developing a crush on girls who were

strictly friendly in the past.”

i. The investigative report includes a statement by W2 thatjohn Doe “tends to have
girl friends that he gets close to and develops a crush on and then tries to act on
it.”

ii. The investigative report included a statement by W4 that john Doe “doesn’t get
with girls often,” so if he sees someone showing interest he will “disregard sobriety
and go for it.”

c. The investigative report included an uncorroborated statement by \V12 that john Doe
became “handsey” one night when they were drinking

68. The investigative report also included information about jane Roe’s reaction to so-called
“triggering events” months after the Incident.

a. The investigative report describesjane Roe celebrating her 21st birthday in February 2017.
jane Roe said that she was not drinking a lot because, in part, she was “in a weird mood
after” the Incident. She said that she told her mother, who responded that jane Roe
should “try and put it away and have fun.”

b. The investigative report describes jane Roe as “shaking and crying” after attending a
training session in August 2017 dealing with Title IX issues. She was particularly upset
thatjohn Doe’s roommate made a comment about bystanders. She said that she does not

think john Doe’s roommate was sufficiently “supportive of her.”

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c. The investigator obtained a statement from \W about this incident, including descriptions
of jane Roe as crying and shaking hysterically and being “inconsolable.”

69. The investigative report contained a number of “findings of fact.” In actuality, these Findings of
Fact reflect the bias of the investigator. The Findings of Fact almost invariably credit the version
of events by jane Roe without considering contrary evidence.

70. The investigative report includes a section entitled “analysis.”

a. The Analysis acknowledges that, in resolving jane Roe’s allegations, the finder of fact
would be required to assess the credibility ofjanc Roe and john Doe.
i. This credibility assessment was made without the benefit of cross-examination or
any opportunity forjohn Doe to confront adverse witnesses.
ii. The Analysis states:
There are no actual eyewitnesses to the sexual encounter, and there is a conflict
in testimony as to the actual sexual incident. To resolve the conflict in
testimony, it is necessary to weigh the credibility of the testimony of []ane Roe]
and []ohn Doe], as well as the surrounding witnesses and any other relevant
evidence.
b. The analysis states thatjane Roe “provided credible evidence.”
i. The analysis credits reports to \Vl and other “close friends regarding the incident.”
ii. The analysis notes that jane Roe admitted she may not have verbalized “no” as
clearly as she initially claimed and that she was either inconsistent or lacked
memory about key portions of the Incident. Remarkably, the Analysis excuses any
inconsistencies in the testimony of jane Roe and concludes that they, in fact,
enhanced her credibility:
T he way in which []ane Roe] acknowledged the possibility of thinking more in her
head, making strong eye contact, expressing frustration over her gaps and memory,
and the confidence in which she expressed the words and body language she
knows she used all support her credibility. If |]ane Roe] wanted to fabricate the

truth, she could have easily never come off the original stronger words she told
me she used.jane Roe explained that she still thinks she used many of the stronger

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words but can’t say with 100% certainty she wasn’t mumbling “uh oh” in place of

no
iii. The analysis found later claims byjane Roe of distress as “most compelling of all.”
The analysis credits her claim, in this respect, that she “no longer felt safe” living
near where john Doe lives. On information and belief,jane Roe had previously
planned to move out of her room.
iv. The analysis concludes - based mostly on subjective emotional reactions and not
on any physical evidence - thatjane Roe was credible:
The emotions instability, tearing up, physical shaking, the need to move
Residence Halls, withdrawn behavior, lack of ability to focus, drop in academic
grades, increase in therapy sessions, lack of confidence, inability to lead training
on Title IX, and triggering moments are all corroborative of []ane Roe’s]
allegation of having been sexually assaulted, as opposed to waking up and
regretting a drunken mistake with a friend.

71. The investigative report observes that “no witnesses, including []ohn Doe] could think of a reason
why [jane Roe] would have a motivation to make this up.” However, elsewhere the Investigative
Report noted that jane Roe received accommodations and other benefits as a result of her claim
to be a victim of sexual assault.

72. The Investigative Report found john Doe’s statement to be not credible.

a. The analysis concludes - based mostly on subjective emotional reactions and not on any

physical evidence - thatjohn Doe was not credible. The Investigative Report states:

|_`john Doe] was very respectful, polite, and seemed genuinely concerned about this
investigation. It should be noted that [john Doe] appeared very nervous during his
interview and would often hit the side of the chair he was sitting in, as he spoke. [john
Doe] avoided eye contact during critical portions of his interview, sometimes using
the exact word for word language in the written statement, leading this investigator to
believe he was very rchearsed.

b. The Investigative report editorializes, suggesting “there is . . . reason to believe []ohn Doe]

does not have a clear understanding of what consent is.”

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c. The analysis in the Investigative Report relies on other allegations against john Doe in
assessing his credibility. The analysis incudes: “Due to the number of other witnesses
with similar allegations against []ohn Doe] . . . []ohn Doe’s] statements regarding []ane
Roe’s mutual consensual actions are not credible.”

73. The Investigative Report tended to credit the witnesses who were friends or sorority sisters of
jane Roe, but rejected the testimony of witnesses who were friends or fraternity brothers of john
Doe. For example, WG was found not to be credible, in part, because “he appeared to be very
influenced by his [fraterriity] brotherhood.” In contrast, the investigative report accepts
uncritically the following: “\Y/10 also denied ‘plotting’ anything against |john Doe] with WS or
[]ane Roe], indicating that she’s not acting in concert with her sorority sisters, but playing a
supportive role . . .”

74. On March 5, 2018 received a 27 page letter from jimenez. This letter primarily re-printed the
investigative report

a. The letter indicated, based on the information contained in the investigative report
prepared by Wallace, john Doe had been found responsible for violating the Sexual
Misconduct Policy.

b. john Doe received the following sanctions:

i. A no contact order prohibiting contact with jane Roe;
ii. Permanent separation from Rollins without the opportunity for readmission. This
dismissal is noted onjohn Doe’s transcript
iii. Prohibition from participation in commencement/ graduation and any alumni
events.
75. On March 21, 2018,john Doe submitted an appeal.

76. On April 12, 2018,john Doe’s appeal was denied

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77. The discipline imposed by Rollins has caused john Doe to be denied the benefits of education at
his chosen school, damaged his academic and professional reputations, and may affect his ability
to enroll at other institutions of higher education and to pursue a career.

78. Discipline by Rollins has caused john Doe significant economic and emotional damages in an

amount difficth to quantify but reasonably believed to be well in excess of $75,000.00

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COUN'I` I
('l`lTLE IX - ERRONEOUS OUTCOME)

79. Plaintiffs repeat and incorporate all of the allegations of this Complaint, as if fully set forth herein.

80. Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. §§ 1681 et seq., and its
implementing regulations, 34 C.F.R. Part 106, prohibit discrimination on the basis of sex in
education programs or activities operated by recipients of Federal financial assistance Title IX
provides in pertinent part: “No person . . . shall, on the basis of sex, be excluded from participation
in, be denied the benefits of, or be subjected to discrimination under any education program or
activity receiving Federal financial assistance.”

81. Rollins is an education program or activity operated by recipients of Federal financial assistance

82. Title IX bars the imposition of discipline against students where gender is a motivating factor in
the decision to discipline.

83. The decisions of the hearing process and the appeal process for john Doe were erroneous
outcomes which were the direct result of a flawed and biased proceeding In a fair and unbiased
system, whether someone is a "victim" is a conclusion to be reached at the end of a fair process,
not an assumption to be made at the beginning Rollins has reversed this process and assumed
thatjohn Doe was guilty because he was a male accused of sexual assault rather than evaluating
the case on its own merits.

84. Rollins committed impermissible gender bias against john Doe in the investigation and
adjudication of jane Roe’s accusations

a. There has been substantial criticism of Rollins, both in the student body and in the public
media (including the Internet), accusing schools of not taking seriously complaints of
female students alleging sexual assault by male students. On information and belief,
Rollins’s administration was cognizant of, and sensitive to, these criticisms. As a result,

Rollins’s decision-makers and its investigators were motivated to favor the accusing female

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over the accused male, so as to protect themselves and Rollins from accusations that they
had failed to protect female students from sexual assault

b. On information and belief, Rollins was motivated in this instance to accept the female’s
accusation of sexual assault so as to show the student body and the public that the
University is serious about protecting female students from sexual assault by male student
The investigators, hearing panel, and administration adopted a biased stance in favor of
the accusing female and against the defending male in order to avoid the criticism that
Rollins turned a blind eye to such assaults by men.

85. Rollins has discriminated againstjohn Doe because of sex. This discrimination is intentional and
is a substantial or motivating factor for Rollins’s actions in this case. Particular circumstances
suggest that gender bias was a motivating factor behind the erroneous findings and the decision
to impose discipline uponjohn Doe. These circumstances include:

a. Rollins, encouraged by federal officials, has instituted solutions to sexual violence against
women that abrogate the civil rights of men and treat men differently than women.

b. Rollins has applied flawed or incorrect legal standards, employed biased or negligent
investigatory techniques

c. Rollins officials and administrators who had the authority to institute corrective measures
had actual notice of and failed to correct the misconduct The imposition of discipline on
john Doe is the result of a flawed and biased hearing process, This resulted in a deprivation
of access to educational opportunities at Rollins.

86. The circumstances of the Investigatory process, the hearing process, and the appeal process cast
doubt on the accuracy of the outcome of the disciplinary proceeding The Department of
Education regulations and guidance state that Title IX requires a fair and equitable process for the

adjudication of allegations of sexual misconduct

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87. Particular circumstances suggest that gender bias was a motivating factor behind the erroneous
lindings and the decision to impose discipline upon john Doe. These circumstances include:

a. A general atmosphere at Rollins where those who lodge a complaint of sexual assault are
immediately treated as “survivors.” This general atmosphere is a direct result of pressure
on Rollins from OCR, DOj, student groups, and public opinion.

b. The adjudication of the claims againstjohn Doe occurred at the time that Rollins officials
were touting New York’s “Enough is Enough” law and their aggressive approach to issues
of sexual assault on campus.

c. The failure of Rollins to conduct full and fair investigations

d. The failure of Rollins to afford accused students counsel or the opportunity to present
evidence in their defense and to effectively cross-examine their accusers under the auspices
of “protecting” victims.

e. The Sexual Misconduct Policy denies male students, like john Doe, the basic guarantees
of hindamental fairness in hearings These rights include an impartial decision-maker, the
assistance of counsel, the ability to confront adverse witnesses, the right to remain silent
in the face of criminal accusations, and the presumption of innocence.

88. Rollins assumed that jane Roc, as an alleged female victim, was truthful and reliable. As a result
of this gender bias, Rollins failed to adequately investigate and question jane Roe’s credibility.

a. Rollins ignored significant evidence that jane Roe was not a credible witness, including
text messages that contradicted her statements.

b. Rollins failed to consider what, if any, accommodations or benefitsjane Roe received that
may have affected her credibility and reliability.

c. Rollins’s practices and procedures appear to not necessarily be hostile to men, but can be

seen as biased in favor of unfairly protecting “vulnerable” and “virtuous” females.

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89. Rollins assumed that john Doe, as an accused male student, was not truthful and reliable. As a
result of this gender bias, Rollins improperly considered character evidence, rumor, innuendo, and
evidence of john Doe’s prior sexual history.

90. The circumstances of the Investigatory process, the hearing process, and the appeal process cast
doubt on the accuracy of the outcome of the disciplinary proceeding

91. Rollins officials and administrators who had the authority to institute corrective measures had
actual notice of and failed to correct the misconduct On information and belief, throughout the
disciplinary proceedings, Rollins and its agents demonstrated and acted on pervasive gender bias.

92. john Doe has been deprived of access to educational opportunities at Rollins.

93. As a direct and proximate result of Rollins’s violations of john Doe’ rights under Title IX,john
Doe has suffered severe and substantial damages.

a. john Doe was denied the opportunity to attend his own graduation.

b. john Doe has lost the opportunity to obtain a valuable scholarship to graduate school.

c. john Doe’s damages include diminished earnings capacity, lost career and business
opportunities, litigation expenses including attorney fees, loss of reputation, humiliation,
embarrassment, inconvenience, mental and emotional anguish and distress and other
compensatory damages, in an amount to be determined by a jury and the Court

94. Rollins is liable tojohn Doe for his damages.

95. Pursuant to 42 U.S.C. §1988,john Doe is entitled to their attorney’s fees incurred in bringing this

action.

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COUNT ll
(TITLE IX - SELECTIVE ENFORCEMENT)

96. Plaintiffs repeat and incorporate all of the allegations of this Complaint, as if fully set forth herein.

97. Title IX bars the imposition of university discipline where gender is a motivating factor in the
decision to discipline.

98. Rollins committed impermissible gender bias against the Plaintiff in the investigation and
adjudication of john Doe’s accusations.

99. Rollins received credible information that thatjohn Doe engaged in sexual activity withjane Roe
whilejohn Doe was intoxicated Rollins did not encouragejohn Doe to file a complaint consider
the inforrnation, or otherwise investigate

100. Rollins received credible information that john Doe was the victim of retaliation during the
pendency of the investigation. Rollins did not encourage john Doe to file a complaint, consider
the information, or otherwise do anything more than a cursory investigation.

101. Rollins violated Title IX by selectively enforcing its sexual assault policies on the basis of
gender:

a. Regardless of plaintiffs guilt or innocence, the severity of the penalty and/ or the decision
to initiate the proceeding was affected byjohn Doe’s gender. A female student,jane Roe,
was in circumstances suchiently similar tojohn Doe’s and was treated more favorably by
Rollins.

b. The severity of john Doe’s punishment was due to his gender because Rollins has
maintained and perpetrated an archaic view of sexuality in which men are aggressors and
women are “guardians of virtue.”

102. Rollins committed impermissible gender bias against john Doe in the investigation and

adjudication of jane Roe’s accusations

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103. Rollins officials and administrators who had the authority to institute corrective measures had
actual notice of and failed to correct the misconduct The imposition of discipline onjohn Doe is
the result of a flawed and biased hearing process. This resulted in a deprivation of access to
educational opportunities at Rollins.

104. Rollins has discriminated againstjohn Doe because of sex. This discrimination is intentional
and is a substantial or motivating factor for Rollins’ actions in this case.

105. As a direct and proximate result of Rollins’ violations of john Doe’s rights under Title IX,
jane Roe has suffered severe and substantial damages.

a. john Doe was denied the opportunity to attend his own graduation.

b. john Doe has lost the opportunity to obtain a valuable scholarship to graduate school.

c. john Doe’s damages include diminished earnings capacity, lost career and business
opportunities, litigation expenses including attorney fees, loss of reputation, humiliation,
embarrassment, inconvenience, mental and emotional anguish and distress and other
compensatory damages, in an amount to be determined by a jury and the Court.

106. Rollins is liable to john Doe for his damages.

107. Pursuant to 42 U.S.C. §1988,j0hn Doe is entitled to his attorney’s fees incurred in bringing

this action.

COUNT III
(BREACH OF CONTRACT)

108. Plaintiff repeats and incorporates all the allegations of this Complaint, as if fully set forth
herein.
109. By enrolling at Rollins, and paying his tuition and fees, and attending the school,john Doe

and Rollins had a relationship that may reasonably be construed as being contractual in nature.

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110. The terms of the contract between john Doe and Rollins are generally found in various
Colleges policies and procedures, including those set forth in the Sexual Misconduct Policy and
the accompanying “Bill of Rights” for complainants and respondents

111. The alleged breaches concern the following contractual provisions:

a. The contract between john Doe and Rollins, as set forth in the Sexual Misconduct Policy,
contains the following guarantee of essential fairness: “The College is committed to . . .
timely and fair resolution of sexual misconduct and harassment complaints.”

b. The contract between john Doe and Rollins, as set forth in the Sexual Misconduct Policy,
requires Rollins, as a recipient of Federal hinds to comply with Title IX. The Department
of Education regulations and guidance state that Title IX requires a fair and equitable
process for the adjudication of allegations of sexual misconduct.

c. The contract betweenjohn Doe and Rollins, as set forth in the Sexual Misconduct Policy,
contains the following guarantee of essential fairness: “The College will respond promptly
and equitably when any incident of sexual misconduct or harassment is alleged against a
faculty, staff, or student.”

d The contract betweenjohn Doe and Rollins as set forth the Bill of Rights for Respondents,
guarantees tojohn Doe an outcome based on information that is “credible, relevant, based

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in fact, and without prejudice. The Sexual Misconduct Policy includes the express
statement that a student bc found “guilty” by the preponderance of the evidence.

e. The contract between john Doe and Rollins, as set forth in the Bill of Rights for
Respondents and the Sexual Misconduct Policy, guarantees to john Doe that the

investigators and decision-makers will not consider “irrelevant prior sexual history.”

considered as information in the investigation.

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112. The contract between john Doe and Rollins contains an implied covenant of good faith and
fair dealing This implied covenant prohibits Rollins from doing anything which will have the
effect of destroying or injuring the right of john Doe to receive the fruits of the contract The
contract betweenjohn Doe and Rollins, as a result, impliedly included the requirement that Rollins
providejohn Doe with an investigatory and adjudicatory process that was “essentially fair."

113. john Doe paid Rollins tuition and fees.

114. Rollins repeatedly and materially breached the explicit guarantee of fundamental fairness and
as well as the implied covenant of good faith and fair dealing and other contractual provisions
These breaches include, but are not limited to, the following:

a. Rollins was required to have a “fair,” and “equitable” process for the adjudication of the
allegations of sexual misconduct byjane Roe.

i. Rollins breached this contractual requirement through the use of a biased
investigator. The investigator used by Rollins, \Vallace, was biased This is
demonstrated by the investigative report, which foundjane Roe to be credible and
john Doe to be not credible based on rumor, innuendo, and hearsay and in spite
of significant contrary evidence.

ii. Rollins breached this contractual requirement whenjohn Doe was never given the
opportunity to cross-examine or otherwise question jane Roe. As a result, the
decision-maker was unable to adequately assess her credibility.

b. Rollins was prohibited from considering john Doe’s prior sexual history. Rollins
breached this requirement when the investigative report relied upon by the decision-
makers contained numerous allegations of misconduct or other aspects of john Doe’s

character that had no relevance to the investigation of the Incident.

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c. Rollins breached its express and implied obligation to provide an outcome based on
credible and reliable facts when it found john Doe Responsible without suf&cient
evidence.

i. There was no physical evidence or witness to support the allegations that john
Doe was guilty.

ii. Text messages and other evidence contradicted or undermined the testimony of
jane Roe.

iii. The failure to require thatjohn Doe be found guilty only on the basis of sufficient
evidence was a breach of the guarantees of fundamental fairness, conviction by a
preponderance of the evidence, the presumption of innocence, and the implied
covenant of good faith and fair dealing

d. Rollins breached the explicit and implied obligation to conduct a investigation and
adjudicatory process in compliance with Federal Law. Rollins breached its obligation
under the Clery Act by negatively commenting onjohn Doe’s choice to be represented by
the attorney of his choice.

115. The conduct of entire process treated john Doe as if he was guilty from the start, thereby
tainting the investigative process and violating the guarantees of fundamental fairness,

a. Rollins administrators and Investigators acted from the beginning as someone who
“believed” the Complainant without conducting any investigation.

b. john Doe was prohibited from confronting his accuser.

c. The bias of the entire process was so pervasive throughout the processes that it destroyed
any possibility of fairness and ensured thatjohn Doe would be found guilry. The finding
was plainly a product of the presumption of guilt, as well as the atmosphere of bias and

hysteria that permeated the entire disciplinary process,

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116. As a direct and foreseeable result of Rollins’s failure to honor its express and implied

contractual promises and representations, john Doe has sustained, and will continue to sustain,
substantial injury, damage, and loss.
a. john Doe was denied the opportunity to attend his own graduation.
b. john Doe has lost the opportunity to obtain a valuable scholarship to graduate school.
c. john Doe’s damages include diminished earnings capacity, lost career and business
opportunities, litigation expenses including attorney fees, loss of reputation, humiliation,
embarrassment, inconvenience, mental and emotional anguish and distress and other

compensatory damages, in an amount to be determined by a jury and the Court.

Wherefore, Plaintiff seeks the following relief from the Court:

judgment in favor of john Doe awarding damages in an amount to be determined at trial;

An Injunction restoringjohn Doe as a student, the removal of any negative notations on his

transcripts, and prohibiting further disciplinary proceedings in a manner that violates Title IX
or the contract between the parties.

Court costs and other reasonable expenses incurred in maintaining this action, including
reasonable attorney’s fees as authorized by 42 U.S.C. §1988.

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]URY DEMAND

Plaintiff hereby demands a trial by jury of all issues so triable.

 
   

Florida Bar Number 843458
carlos@burruezolaw.com
docketing@burruezolaw.eom
BERTHA L. BURRUEZO, ESQ.
Florida Bar Number 596973
bertha@burruezolaw.com

941 Lake Baldwin Lane, Suite 102
Orlando, Florida 32814

OfEce: 407.754.2904

Facsimile: 407.754.2905

s oshua En el
jOSHUA ADAM ENGEL (0075769)
ANNE TAMASHASKY (0064393)

Pro bar vice application to be submitted

ENGEL AND MARTIN, LLC
4660 Duke Drive, Ste. 101
Mason, Ol'l 45040
(513) 445-9600
(513) 492-8989 (Fax)
engel@engelandmartin.com

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